
PER CURIAM.
Because Appellant, a juvenile, was not present for the first session of a two-part restitution hearing, and because there is nothing in the record to suggest a voluntary and intelligent waiver of his right to attend, the juvenile is entitled to a new restitution hearing. J.C. v. State, 1 So.3d 1196 (Fla. 5th DCA 2009); I.M. v. State, 955 So.2d 1163 (Fla. 1st DCA 2007).
In addition, the record contains no determination by the trial court that the restitution amount did “not exceed an amount the child and the parent or guardian could reasonably be expected to pay or make.” § 985.437(2), Fla. Stat. (2009); M.W.G. v. State, 945 So.2d 597 (Fla. 2d DCA 2006).
We reverse the amended restitution order and remand for further proceedings consistent with this opinion.
REVERSED and REMANDED.
BARFIELD, VAN NORTWICK, and CLARK, JJ., concur.
